
694 S.E.2d 769 (2010)
STATE of North Carolina
v.
Corey Eugene MOORE.
No. 14P10.
Supreme Court of North Carolina.
March 11, 2010.
Robert W. Ewing, Jr., Clemmons, for Corey Eugene Moore.
E. Michael Heavner, Assistant Attorney General, for State of NC.

ORDER
Upon consideration of the petition filed on the 12th of January 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th of March 2010."
